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THE ORD FIRM, P.C.
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                          IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

 Trevor Kelley,                                 Case No.: 2:17-cv-00608-CW-EJF

                  Plaintiff,
                                                 STIPULATION FOR DISMISSAL WITH
 v.
                                                           PREJUDICE

 Harman Management Corporation,
                                                Assigned to: Judge Clark Waddoups
                  Defendant.                    Referred to: Magistrate Judge Evelyn J. Furse


         PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii),

Plaintiff, Trevor Kelley and Defendant, Harman Management Corporation, hereby stipulate that

the above referenced Action be dismissed with prejudice, with each party to bear their own

attorney’s fees’, costs and expenses.


         RESPECTFULLY submitted on this 20th day of March 2018.


  /s/ James K. Ord, III                          /s/ Jamie L. Nopper (with permission) _
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    Case 2:17-cv-00608-CW Document 17 Filed 03/20/18 PageID.49 Page 2 of 2




                                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 20th day of March 2018, I electronically transmitted the
foregoing document to the Clerk’s Office using the CM/ECF system for filing and transmittal of
a Notice of Electronic filing to be served upon all e-filing counsel of record as follows:

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/s/ Lisa Stamper*
(* I certify that I have the signed original of this document
which is available for inspection during normal business
hours by the Court or a party to this action)




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